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                                    UNITED STATES DISTRICT COURT
                                        DISTRICT OF MARYLAND

          CHAMBERS OF                                                           101 WEST LOMBARD STREET
    STEPHANIE A. GALLAGHER                                                     BALTIMORE, MARYLAND 21201
  UNITED STATES DISTRICT JUDGE                                                        (410) 962-7780
MDD_SAGchambers@mdd.uscourts.gov




                                                          September 12, 2023



    LETTER TO COUNSEL

          Re:   U.S.A. v. Gabrielian, et al.
                Criminal Case No. SAG-22-0336

    Dear Counsel:

           This will confirm that a motions hearing has been scheduled in this case for September
    21, 2023 at 10:00 a.m. in courtroom 7C.

           Despite the informal nature of this letter, it is an Order of the Court and will be docketed
    as such.

                                                         Sincerely yours,

                                                                /s/

                                                         Stephanie A. Gallagher
                                                         United States District Judge
